           Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 1 of 28



UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
Mondaire Jones, Alessandra Biaggi, Chris Burdick, Stephanie
Keegan, Seth Rosen, Shannon Spencer, Kathy Rothschild, Diana
M. Woody, Perry Sainati, Robert Golub, Mary Winton Green,
Marsie Wallach, Matthew Wallach, Mac Wallach, Carol Sussman,
and Rebecca Rieckhoff, individually, and on behalf of all others similarly
situated,

                                             Plaintiffs,                       Docket No. 20-cv-6516-VM

         v.

United States Postal Service, Louis DeJoy, as Postmaster General of
the United States Postal Service; and Donald J. Trump, as President of
the United States,

                                             Defendants.


              PLAINTIFFS’ REPLY MEMORANDUM OF LAW
 IN FURTHER SUPPORT OF THEIR MOTION FOR PRELIMINARY INJUNCTION



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September 10, 2020
                    Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 2 of 28



                                                             TABLE OF CONTENTS



TABLE OF CONTENTS ................................................................................................................................ i

TABLE OF AUTHORITIES ........................................................................................................................ iii

PRELIMINARY STATEMENT .................................................................................................................... 1

FACTUAL RESPONSE .................................................................................................................................. 2

ARGUMENT..................................................................................................................................................... 4

    I.         Defendants’ Procedural Arguments Lack Merit. ............................................................................. 4

          A.           Plaintiffs have standing. ............................................................................................................... 4

               i.      Voter-Plaintiffs have standing. .................................................................................................... 5

               ii. If the Court accepts Defendants’ arguments on voter-Plaintiffs lacking an injury-in-fact,

               the candidate-Plaintiffs necessarily have standing. .......................................................................... 8

          B.           Plaintiffs claims are not moot. .................................................................................................... 9

    II.        Defendants’ Constitutional Arguments Are Misguided. ..............................................................11

          A.           No sound constitutional principle could permit the federal government to take actions

          that would be unconstitutional for states. ...........................................................................................11

          B.           If Defendants are correct that Anderson-Burdick does not apply, strict scrutiny is simply

          automatic. .................................................................................................................................................12

          C.           Defendants misunderstand how scrutiny shifts the burden of proof. ................................13

          D.           No intent is required in voting rights cases of this kind. ......................................................14

          E.           Defendants’ McDonald argument ignores the existence of O’Brien. .....................................16

    III.            Defendants’ Other Points Lack Merit. .........................................................................................17


                                                                                    i
               Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 3 of 28



CONCLUSION ...............................................................................................................................................21




                                                                             ii
                Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 4 of 28



                                                         TABLE OF AUTHORITIES

                                                                                                                                                          Page(s)

Cases

Allee v. Medrano,
    416 U.S. 802 (1974) ................................................................................................................................... 10

Am. Coll. of Obstetricians & Gynecologists v. United States FDA,
   Civil Action No. TDC-20-1320, 2020 U.S. Dist. LEXIS 122017 (D. Md. July 13,
   2020).............................................................................................................................................................. 6

Anderson v. Celebrezze,
   460 U.S. 780 (1983) ............................................................................................................................ 13, 15

Arbor Hill Concerned Citizens Neighborhood Ass’n v. Cty. of Albany,
   No. 03-CV-502, 2003 U.S. Dist. LEXIS 11386 (NDNY July 7, 2003) ............................................... 5

Black Voters Matter Fund v. Raffensperger,
    No. 1:20-cv-01489-AT, 2020 U.S. Dist. LEXIS 143209 (N.D. Ga. Aug. 11, 2020) ......................... 6

Bullock v. Carter,
    405 U.S. 134 (1972) ..................................................................................................................................... 5

Burdick v. Takushi,
    504 U.S. 428 (1992) ................................................................................................................................... 13

Burson v. Freeman,
    504 U.S. 191 (1992) ................................................................................................................................... 13

Bush v. Gore,
    531 U.S. 98 (2000) ..................................................................................................................................... 15

Califano v. Yamasaki,
    442 U.S. 682 (1979) ................................................................................................................................... 20

Chi. Teachers Union, Local No. 1, AFT, AFL-CIO v. Hudson,
    475 U.S. 292 (1986) ................................................................................................................................... 10

Cipriano v. Houma,
    395 U.S. 701 (1969) ................................................................................................................................... 12

City of Erie v. Pap’s A.M.,
    529 U.S. 277 (2000) (Scalia, J. concurring) ............................................................................................ 10

City of Mesquite v. Aladdin’s Castle,
    455 U.S. 283 (1982) ................................................................................................................................... 10




                                                                                  iii
                Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 5 of 28



Clapper v. Amnesty Int’l USA,
    568 U.S. 398 (2013) (Breyer, J., dissenting) ............................................................................................. 5

Cooper v. Harris,
   137 S. Ct. 1455 (2017) .............................................................................................................................. 13

Crawford v. Marion County Elec. Bd.,
   553 U.S. 181 (2008) ................................................................................................................................... 13

Credico v. N.Y. State Bd. of Elections,
    751 F. Supp. 2d 417 (E.D.N.Y. 2010) .................................................................................................... 14

Daunt v. Benson,
   956 F.3d 396 (6th Cir. 2020) (Readler, J., concurring) .................................................................. 12, 13

Davis v. Mann,
   377 U.S. 678 (1964) ................................................................................................................................... 18

Democratic Exec. Comm. of Fla. v. Lee,
   915 F.3d 1312 (11th Cir. 2019) ............................................................................................................... 15

Dunn v. Blumstein,
   405 U.S. 330 (1972) ................................................................................................................................... 12

Evans v. Cornman,
   398 U.S. 419 (1970) ................................................................................................................................... 12

First Capital Asset Mgmt., Inc. v. Brickellbush, Inc.,
    218 F. Supp. 2d 369 (S.D.N.Y.2002)...................................................................................................... 16

Fisher v. Univ. of Tex.,
    570 U.S. 297 (2013) ................................................................................................................................... 14

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc.,
    528 U.S. 167 (2000) ................................................................................................................................... 10

Gallagher v. N.Y. State Bd. of Elections,
    2020 U.S. Dist. LEXIS 138219 (SDNY Aug. 3, 2020) .................................................................. passim

Goosby v. Osser,
   409 U.S. 512 (1973) ................................................................................................................................... 16

Gray v. Sanders,
   372 U.S. 368 ............................................................................................................................................... 18

Hill v. Stone,
    421 U.S. 289 (1975) ................................................................................................................................... 16




                                                                               iv
                Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 6 of 28



Knox v. Serv. Emps. Int’l Union, Local Human Res.,
   532 U.S. 598 (2001) ................................................................................................................................... 10

Kramer v. Union Free Sch. Dist.,
   395 U.S. 621 (1969) ............................................................................................................................ 12, 16

L.A. Cty. v. Davis,
   440 U.S. 625 (1979) ................................................................................................................................... 10

Lau v. Meddaugh,
   229 F.3d 121 (2d Cir. 2000) ..................................................................................................................... 20

League of Women Voters of the United States v. Newby,
    426 U.S. App. D.C. 67 (2016) ................................................................................................................... 5

Lemon v. Kurtzman,
   411 U.S. 192 (1973) ................................................................................................................................... 19

Los Angeles Haven Hospice, Inc. v. Sebelius,
    638 F.3d 644 (9th Cir. 2011).................................................................................................................... 20

McDonald v. Board of Election Comm’rs,
   394 U.S. 802 (1969) ............................................................................................................................ 16, 17

Monsanto Co. v. Geertson Seed Farms,
   561 U.S. 139 (2010) ................................................................................................................................. 5, 6

Ne. Fla. Chapter of Associated Gen. Contractors of Am. v. City of Jacksonville, Fla.,
    508 U.S. 656 (1993) ................................................................................................................................... 10

New York v. U.S. Dep’t of Homeland Sec.,
   969 F.3d 42, 2020 U.S. App. LEXIS 24492 (2d Cir. 2020)........................................................ 6, 7, 18

O’Brien v. Skinner,
   414 U.S. 524 (1974) ...................................................................................................................... 11, 16, 17

Pennell v. San Jose,
    485 U.S. 1 (1988) ......................................................................................................................................... 5

People First of Ala. v. Merrill,
    No. 2:20-cv-00619-AKK, 2020 U.S. Dist. LEXIS 104444 (N.D. Ala. June 15,
    2020).............................................................................................................................................................. 6

Price v. N.Y. State Bd. of Elections,
     540 F.3d 101 (2d Cir. 2008) .............................................................................................................. 16, 17

Reynolds v. Sims,
    377 U.S. 533 (1964) ................................................................................................................................... 12



                                                                                   v
                Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 7 of 28



Richmond Tenants Org., Inc. v. Kemp,
    956 F.2d 1300 (4th Cir. 1992) ................................................................................................................. 19

Stauber v. City of N.Y.,
    2004 U.S. Dist. LEXIS 13350 (S.D.N.Y. July 16, 2004) ....................................................................... 9

Trinity Lutheran Church of Columbia, Inc. v. Comer,
    137 S. Ct. 2012 (2017) .............................................................................................................................. 10

Trump v. Int’l Refugee Assist. Project,
   137 S. Ct. 2080 (2017) (per curiam) ........................................................................................................ 19

United States v. Classic,
    313 U.S. 299 (1941) ................................................................................................................................... 12

United States v. Generix Drug Corp.,
    460 U.S. 453 (1983) ................................................................................................................................... 10

United States v. Sanchez-Gomez,
    138 S. Ct. 1532 (2018) .............................................................................................................................. 10

USPS v. Council of Greenburgh Civic Assocs.,
   453 U.S. 114 (1981) ................................................................................................................................... 12

Virginia Soc’y for Human Life, Inc. v. FEC,
    263 F.3d 379 (4th Cir. 2001).................................................................................................................... 20

Yang v. Kellner,
   2020 U.S. Dist. LEXIS 79331 (S.D.N.Y. May 5, 2020), aff’d Yang v. Kosinski, 960
   F.3d 119 (2d Cir. 2020).........................................................................................................................9, 15

Yang v. Kosinski,
   960 F.3d 119 (2d Cir. 2020) .............................................................................................................. 14, 16

Statutes

39 U.S.C. § 3661(b) ................................................................................................................................... 19, 20

42 U.S.C. § 1983 ................................................................................................................................................. 4

Other Authorities

Brian Brox and Joseph Giammo, Late Deciders in U.S. Presidential Elections, 30
    AM. REV. OF POL. 333, 334-36 (2009) ...................................................................................................... 6

Fed. R. Civ. P. 15(a)(1) ...................................................................................................................................... 4

U.S. Const. amend. I............................................................................................................................. 1, 12, 15

U.S. Const. amend. XIV .............................................................................................................................4, 12


                                                                                vi
            Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 8 of 28



                                       PRELIMINARY STATEMENT

         In terms of constitutional theory, Defendants opposition seems to boil down to, to

paraphrase, “when the [federal government] does it, that means that it is not illegal.” See, e.g.,

Defendants’ Opposition Memorandum (“Def. MoL”) at 29. Fortunately, that principle is nowhere

to be found in the First Amendment canon. The First Amendment – and its concomitant

protections against government interference in the right to vote – applies with just as much force to

arms of the federal government as it does to the states (perhaps more so, since some parts of the Bill

of Rights technically remain unincorporated).

         Factually, reading Defendants’ opposition and the declarations accompanying it, one might

be inclined to believe the widespread delays in USPS delivery were a mass, shared hallucination.

One might also be inclined to believe that the reports of chaos and “transformative” new policies

existing at all were likewise imagined. But outside Defendants papers, Postmaster DeJoy’s

“transportation rules [are] causing chaos” and USPS workers are, as instructed, “continuing the

chaos.” Jamison Reply Ex. 1. Indeed, even on their own terms, Defendants’ footnotes to their

denials (see, e.g., Curtis Dec., nn. 1 & 2 1) seem to suggest that other categorical denials cannot be taken

at face value – what “unauthorized” guidance might those denials omit?

         In any event, these challenges can and should be easily dispatched. The federal constitution

restricts the acts of USPS when they burden the right to vote. There is no serious question of

whether there are currently substantial and continuing delays of the mail that will burden the right to

vote in November. Thus, the Court can and should act to protect the right to vote.




         1 The Curtis Declaration makes the categorical claim that local management did not give certain directions,

before footnoting that Ms. Curtis “ha[s] seen copies of” documents that involve “local managers” giving exactly the
directions denied above. See also Jamison Dec. ¶ 35 (opining these memos were likely created at the area or district level,
and “the word local is a misnomer”).


                                                             1
             Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 9 of 28



                                            FACTUAL RESPONSE

         Plaintiffs provide this brief factual response, aware of the fact that the Court has now

scheduled a fact-finding hearing. Most importantly, Defendants’ assertion that the changes at issue

have “not had any lasting negative impact on the USPS’s service performance” is simply wrong on

the record. Def. MoL at 13 n. 13; 16-18. While Defendants are correct that lifting some of the

changes led to a “return[] to early July [service] levels,” early July already had a significant delay

below baseline, and the “return” has not even made up half of the decline in service that began in

late June. Def. MoL at 18; see also Green Ex. 2 at 2. As the document Defendants reference shows,

however, current services remain 5.6% below baseline – a modest, but hardly complete recovery

from the 8.1% below baseline as of August 1 (and the approximately 10% below baseline as of

about July 18). And that modest recovery certainly does not establish beyond all doubt that the

problem is gone. But see Def. MoL at 18 (seeming to suggest the “temporary decline in []service

performance” has been fully addressed). Indeed, more than half the problem still remains.

         Similarly, Defendants’ categorical denials undermine their positions, ultimately showing that

management is not fully addressing issues. For example, on September 6 (thus, after all issues were

addressed, according to Defendants) a facility in Portland put up a large banner, 2 reading:

             No Employee has Authorization to Hold Trucks
             ALL HCR & PVS TRIPS WILL DEPART ON TIME, NO EXCEPTIONS
             DO NOT HOLD A TRUCK – NO MORE HOLDING TRUCKS
             Make sure every single employee understands – All Trips Depart On Time
             WE WILL NOT HAVE
             Late Processing…[,] Load After Depart[,] PVS Schedule failure

Jamison Ex. 1 (caps and bold in original). But see contra, Curtis. ¶ 24 n. 1 (“Headquarters did not ban



         2 Ultimately, the declarations submitted by Defendants only acknowledge those documents Plaintiffs have –
because of leaks – discovered. As Mr. Jamison reveals, there have been other “stand up talks,” that were less explicit
than the July 15 one, but came around the same time frame and hit similar themes, include for example, that in Ohio
“Mail Processing has been tasked with a reduction of 290,000 workhours.” See Jamison Dec. ¶ 19. Yet these appear
nowhere in Defendants’ declarations. This mirrors what happened in the House with the presentation that showed the
dramatic decline in mail service. See P. MoL at 4-5, citing House Tr. at 22-23.


                                                           2
            Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 10 of 28



all … late trips”); Cintron Dec. ¶ 25 (suggesting policy was never to “prevent all late … trips under

any circumstances”). The banner likely “would have been ordered by and installed at the direction

of the Senior Plant Manager” because “[n]o one else would have the authority to direct office

personnel to create such a sign” and “[n]o lower level manager or tour supervisor would be

authorized to promulgate the policy expressed in the sign and order the display of the sign.”

Jamison Reply Dec. ¶ 30. As Mr. Jamison explains “specific design of the sign may have [even]

originated at Headquarters level or at the PDC[,] but in any event it is unlikely that the decision to

display such messaging occurred without the direct involvement of senior managers.” Id. Thus,

given the Curtis and Cintron declarations, the “most benign explanation is that knowledge at the

most senior levels of the organization is not being shared with parties who have been asked to

provide testimony in this proceeding.” Id. ¶ 31.

        Similarly, while Defendants supplied a manager (Mr. Stasa) as a declarant to explain and deny

certain events in the San Antonio Plant, Mr. Stasa seems unaware of many basic facts on the

mailroom floor, and his declaration suggests that his intermediate supervisors simply do not deliver

relevant information to him. See Barrios Reply Dec. ¶¶ 5-6; 19-24.

        Beyond that, the broad denials also raise more questions than they answer. As Plaintiffs’

expert 3 in USPS operations explains, the “question” the denials raise is “where did the local

managers get the ideas discussed in the documents if not from higher up in the chain of command?”

Jamison Dec. ¶ 23 See also, ¶ 25 (“This is an example of plausible deniability. The local managers

wanted to please the boss, so they made a decision to please her over the ultimate goal of on-time

mail delivery – there’s little question about why they would make that decision.”). Similarly, Mr.

Jamison explains that for things like overtime decisions, “there is certainly a verbal channel for

passing messaging … down the chain of command,” and often local manages may “interpret[ a]


        3   Defendants do not object to Mr. Jamison’s credentials and experience, or raise any challenge to his expertise.


                                                             3
           Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 11 of 28



directive to reduce costs as something that will please the bosses up the chain” and then “make the

reductions more dramatic.” Id. ¶ 15. In short, particularly given the categorical denials which are

footnoted with exceptions (see, e.g., Curtis Dec. ¶ 24), and the apparent lack of knowledge that as

Defendants’ declarants were signing statements saying otherwise, a plant was putting up an “ ALL

… TRIPS WILL DEPART ON TIME, NO EXCEPTIONS” sign, the question really becomes:

what footnotes are missing?

         Nor do Defendants explain many basic tensions in their factual assertions (many of which

are analyzed at length in Plaintiffs’ expert’s Reply Declaration). For example, while the volume of

election mail may only amount to, at most, 4 “2-5 percent of total volume of mail in October and

November,” given what all parties agree were extraordinary efforts involved in handling election

mail in past years, it is hard to see how engaging in those same efforts at ten times the scale would

not be – at least – a challenge. But see Def. MoL at 3.

                                                   ARGUMENT

    I.        Defendants’ Procedural Arguments Lack Merit.

         Defendants make two 5 major procedural arguments: that Plaintiffs lack standing and that

the claims here are moot. Both arguments are wrong-headed and should be disregarded.

              A.            Plaintiffs have standing.

         As a background rule, “the rights of voters and the rights of candidates do not lend

themselves to neat separation; laws that affect candidates always have at least some theoretical,




          4 This framing, of course, does not consider that the real crunch is all in the week before the election – and

often (for any number of reasons) USPS management saves the extraordinary efforts for the days just before Election
Day. See, e.g., Barrios Reply Dec. ¶¶ 20-24.
          5 Defendants also correctly note – in another argument that might fairly be labeled procedural – that the

Complaint mislabeled the causes of action at issue in referencing 42 U.S.C. § 1983 as well as in labeling Equal Protection
claims against Federal Defendants as arising out of the Fourteenth Amendment (rather than the Fifth). See Def. MoL at
28. This was a drafting error, made in the context of an emergency drafting process (and one counsel apologizes for).
Plaintiffs have now filed an amended complaint that re-labels the causes of action appropriately, which they did as of
right. ECF No. 36; see Fed. R. Civ. P. 15(a)(1)(A)(within 21 days of service on 8/20) or (B).


                                                            4
         Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 12 of 28



correlative effect on voters,” and visa-versa. Bullock v. Carter, 405 U.S. 134, 143 (1972). And more

broadly, once the Court assures itself that “at least one plaintiff satisfies the requirements for

standing, the standing of any other plaintiff need not be resolved on this motion.” Arbor Hill

Concerned Citizens Neighborhood Ass’n v. Cty. of Albany, No. 03-CV-502 (NAM/DRH), 2003 U.S. Dist.

LEXIS 11386, at *11-12 (NDNY July 7, 2003).

        Additionally, for standing purposes, the Court should “accept as true all material allegations

of the complaint, and construe the complaint in favor of the complaining party.” Pennell v. San Jose,

485 U.S. 1, 7 (1988) (alteration adopted). And, as explained below, standing is evaluated at the time

of filing – before Defendants’ voluntary cessation of any conduct.

                     i. Voter-Plaintiffs have standing.

        The injury required for standing need not be definite and “certainty is not, and never has

been, the touchstone of standing.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 431 (2013) (Breyer, J.,

dissenting) (emphasis in original). Thus – adjusting for context – the Supreme Court has used

phrases ranging from “realistic danger of sustaining a direct injury” to “reasonably probability” to

“substantially likely” to “certainly impending” in describing the likelihood of injury required. Id. at

432-33 (collecting cases). For injunctive purposes in election cases, then, it is important that

“Damocles’s sword does not have to actually fall on all appellants before the court will issue an

injunction.” League of Women Voters of the United States v. Newby, 426 U.S. App. D.C. 67, 75 (2016).

That is, where voters face a meaningful likelihood of harm, they have standing to pursue injunctive

relief. Cf. Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 153-55 (2010) (“conventional alfalfa

farmers” had standing to challenge a regulatory action that “g[ave] rise to a significant risk of gene

flow to non-genetically-engineered varieties of alfalfa” through random cross-pollination between

their crops and genetically engineered, deregulated crops nearby). As pled in the Complaint, the

“predictable result of the USPS slowdowns, policy changes, and withdrawal from aggressive efforts



                                                          5
             Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 13 of 28



to deliver ballots is that untold numbers of ballots will not be counted based on circumstances

entirely out of the voters’ control.” Comp. ¶ 127. And the actions at stake “all but guarantee that

thousands upon thousands (if not millions) of ballots will simply not reach their destinations on

time, will likely lack postmarks that are required by state law, and that the volume of election mail

that is coming may be delayed for weeks.” Comp. ¶ 5. Accepting these and other allegations as true

(which the Court should for standing purposes), there is little question the injury requirements are

satisfied.

         Additionally, some Plaintiffs are considering – and Plaintiff Shannon Spencer has settled on

– voting in person, which will put them at risk of COVID to avoid the risks of their votes not

counting. Spencer Dec. ¶¶ 5-6. Such steps to avoid COVID risks, along with the risks themselves,

are injuries that confer standing – as courts have found throughout this pandemic. Black Voters

Matter Fund v. Raffensperger, No. 1:20-cv-01489-AT, 2020 U.S. Dist. LEXIS 143209, at *55-61 (N.D.

Ga. Aug. 11, 2020) (finding injury and standing where state law forced a plaintiff to choose between

paying postage or risking COVID by voting in-person); People First of Ala. v. Merrill, No. 2:20-cv-

00619-AKK, 2020 U.S. Dist. LEXIS 104444, at *22 (N.D. Ala. June 15, 2020) (finding injury and

standing where state law required in-person presentation of a photo-ID to vote absentee); Am. Coll.

of Obstetricians & Gynecologists v. United States FDA, Civil Action No. TDC-20-1320, 2020 U.S. Dist.

LEXIS 122017, at *40 (D. Md. July 13, 2020). 6 Cf. also, Monsanto, 561 U.S. 139, 154 (discussing, as



         6    To that end, a “voter always has standing to challenge a statute that places a requirement on the exercise of
his or her right to vote,” and as Defendants argue, the delays – at a minimum – amount to a requirement that voters
“avoid any likely injury by sending in their ballots a reasonable time before the election.” People First of Ala, 2020 U.S.
Dist. LEXIS 104444, at *21; Def. MoL at 23. Thus, being forced to vote early – and decide how to vote early – is itself
an injury that confers standing. See Brian Brox and Joseph Giammo, Late Deciders in U.S. Presidential Elections, 30
AM. REV. OF POL. 333, 334-36 (2009) (discussing the significant share – up to 30% in some elections – of voters who
decide how they will vote in the last two weeks of the election, and the reasons they do so, including that “[b]y delaying
the decision until the last minute, these late deciders allow the campaign to take its course, gathering as much
information as possible before Election Day itself forces them to make a choice.”). Thus, even if Defendants argue that
it is “illogical” for Plaintiffs or other voters to wait until closer to election day, “the consequences of [that] decision” – a
decision reserved for voters by state law – “may [nonetheless] suffice to establish standing.” New York v. U.S. Dep’t of
Homeland Sec., 969 F.3d 42, __, 2020 U.S. App. LEXIS 24492, *24-25 (2d Cir. 2020).


                                                               6
         Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 14 of 28



injuries, that farmers were taking “certain measures to minimize the likelihood of potential

contamination” of their crops by unregulated crops).

        More broadly, the Second Circuit’s recent decision in New York v. U.S. Dep’t of Homeland Sec.

(“NY v. DHS”) is instructive here. Where “an agency action has a predictable effect on the

decisions of third parties, the consequences of those third party decisions may suffice to establish

standing, even when the decisions are illogical or unnecessary.” 969 F.3d 42, __, 2020 U.S. App.

LEXIS 24492, *24-25 (2d Cir. 2020), citing Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2566

(2019). Here, though Defendants complain of the predictable effect that USPS delays will have

when filtered through various states election laws, it remains true that delays in the mail will lead to

votes being tossed out. Indeed, just as in NY v. DHS, where the Circuit observed that “it is

disingenuous for DHS to claim that the injury is not sufficiently imminent” “[w]here the agency

itself forecasts the injuries,” here, USPS has forecast exactly the injuries at stake. 2020 U.S. App.

LEXIS 24492 at *25. That is, USPS sent 46 states letters that made clear that, even without a

slowdown, a “mismatch” between the laws of 46 states and USPS service standards means that voters

face a “significant risk that [they] will not have sufficient time to complete and mail the completed

ballot back to the election official in time for it to arrive by the state’s return deadline” and that risk

is (in some cases) “exacerbated by the fact that the law [in some states] does not … impose a time

period by which election officials must transmit a ballot to the voter.” See, e.g., Comp. Ex. 5 at 1-2.

It is hard to see how USPS could make this projection, and yet reject the basic notion that shifting

mail delivery two days later does not also “execarbate[]” the risk. For standing purposes, under NY

v. DHS, the injuries caused by mail delays are imminent and concrete enough for the voter-Plaintiffs

to sue on USPS’s own terms.

        Finally, Defendants arguments on traceability and redressability are wrong for the very same

reasons. Even if USPS believes the application of state election law or the acts of state election



                                                     7
         Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 15 of 28



officials are irrational, USPS delays will still – redressably and traceably – lead to predictable

disenfranchisement. Thus, redressability and traceability reduce to this: the mail is currently well

below the baseline and is delayed somewhere between days and weeks in most parts of the country.

If the Court orders USPS to fix that backlog and prevent a new one from building (with sufficient

checks and monitoring to ensure delays get fixed), the harms faced by Plaintiffs will be prevented.

No more is required for standing.

                    ii. If the Court accepts Defendants’ arguments on voter-Plaintiffs lacking an injury-in-fact, the
                        candidate-Plaintiffs necessarily have standing.

        Defendants’ argument on candidate standing is barred by their argument on voter standing.

See Def. MoL at 23 n. 16. Indeed, after reciting at length all of the “hindrance[s]” that they believe

voters should face in raising their own claims, Defendants then assert (with no apparent sense of

irony) that “there is no ‘hindrance’ to voters raising claims on their own.” Id.

        But these two positions cannot coexist. If an individual voter, looking forward to events

beyond their control, must show that an injury that will occur randomly is certain to hit them in

particular, that is certainly a “hindrance” to raising a claim on their own. Consider, for example, a

hypothetical USPS policy of randomly shredding one in every thousand ballots mailed after October

25. On Defendants’ theory of standing, no voter could ever challenge this policy, because they could

never show they would be injured, and in any event, voters could “avoid any likely injury by sending in

their ballots a reasonable time before the election.” Def. MoL at 23. Assuming this were how standing

worked (it is not), there should be no doubt that there is a substantial “hindrance” to such voters

raising their own claims. Yet that policy is also (we hope) obviously unconstitutional. Thus,

Defendants’ own arguments supply the candidate-Plaintiffs with standing – and, as a prudential matter,

if a sufficiently random disenfranchisement would preclude voters from ever having standing on their

own, then candidates would be the sole parties able to vindicate the right to vote.

        Beyond that, Defendants’ assertion that a candidate-Plaintiff must show that challenged


                                                        8
         Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 16 of 28



disenfranchisement will “change the course or outcome of their candidacy” is simply wrong on the

law. In Gallagher, the Court rejected exactly this argument, explaining, “Candidates have an interest

not only in winning or losing their elections, but also in ensuring that the final vote tally accurately

reflects the votes cast.” Gallagher v. N.Y. State Bd. of Elections, 2020 U.S. Dist. LEXIS 138219, at *29

(SDNY Aug. 3, 2020). Thus, candidates who had already won their races had standing to challenge an

application of state law that tossed out voter ballots based on USPS errors. In Yang, the Second Circuit

also affirmed a finding of standing that rejected the same argument. See Yang v. Kellner, 2020 U.S. Dist.

LEXIS 79331, at *12-15 (S.D.N.Y. May 5, 2020) (rejecting arguments that “Plaintiffs lack standing

because ‘the Democratic presidential primary election would not actually have determined whether

they would, in fact, serve as delegates’” and that Andrew Yang, because he suspended his campaign

and was unlikely to win any delegates, lacked standing) (alterations adopted), aff’d Yang v. Kosinski, 960

F.3d 119, 127 n. 21 (2d Cir. 2020) (“we have examined sua sponte the question of Article III standing

and concluded that Plaintiffs and the Sanders delegates have standing to challenge the Board's April

27 Resolution”). In short, candidate standing does not require anything like what Defendants suggest,

and they do not cite a single case suggesting otherwise.

            B.          Plaintiffs claims are not moot.

        Defendants wrongly assert that USPS’s voluntary “suspen[sion of] many of the operational

measures” at issue sounds in standing. Def. MoL at 23. But “abandonment of [a] policy presents an

issue of mootness rather than standing.” Stauber v. City of N.Y., 2004 U.S. Dist. LEXIS 13350, at *52

(S.D.N.Y. July 16, 2004), citing Dodge v. County of Orange, 208 F.R.D. 79, 85 (S.D.N.Y. 2002). That is,

as the Supreme Court has explained, “[i]t is well settled that a defendant’s voluntary cessation of a

challenged practice does not deprive a federal court of its power to determine the legality of the

practice. Such abandonment is an important factor bearing on the question whether a court should

exercise its power to enjoin the defendant from renewing the practice, but that is a matter relating to



                                                    9
              Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 17 of 28



the exercise rather than the existence of judicial power.” City of Mesquite v. Aladdin’s Castle, 455 U.S.

283, 289 (1982). 7

          Here, the claims are not moot for two reasons: (1) there remains a profound and undisputed

delay in the mail that will impact the election and (2) Defendants’ voluntary cessation is both

incomplete and, apparently, unenforced.

          First, as the documents they cite show, USPS has not even made it halfway back from its

dramatic dip in service standards. Mail remains significantly more delayed than it should be, and the

risk that poses to the right to vote remains profound for all the reasons above.

          Second, and more importantly, the supposed cessation of new policies that have slowed the

mail is either illusory or unenforced. Even just “[t]he possibility that respondent may change its mind

in the future is sufficient to preclude a finding of mootness.” United States v. Generix Drug Corp., 460

U.S. 453, 456 n.6 (1983). And here, Plaintiffs have already supplied ample evidence that

Defendants’ promises that policies have been changed or rolled back are indefinite and equivocal.

Compare, e.g., Def. MoL at 18 n. 13 (“It has never been USPS policy or guidance to ‘ban’ extra trips”)

and Cintron Dec. ¶ 25 (“I did not direct any field managers … [to] prevent all late and extra trips

under any circumstances, as was clear from our discussions); with Jamison Rep. Ex. 1 (sign at a USPS

plant, put up September 6, reading “ALL … TRIPS WILL DEPART ON TIME, NO

EXCEPTIONS” and “Make sure every single employee in our building understands – All Trips




          7  See also, United States v. Sanchez-Gomez, 138 S. Ct. 1532, 1537 (2018); Trinity Lutheran Church of Columbia, Inc. v.
Comer, 137 S. Ct. 2012, 2019 n.1 (2017); Knox v. Serv. Emps. Int’l Union, Local Human Res., 532 U.S. 598, 609 (2001);
Buckhannon Bd. & Care Home, Inc. v. W. Va. Dep't of Health & Human Res., 532 U.S. 598, 609 (2001); City of Erie v. Pap’s
A.M., 529 U.S. 277, 287–89 (2000) (“The test for mootness we have applied in voluntary-termination cases is not
whether the action originally giving rise to the controversy could not conceivably reoccur, but whether it is absolutely clear
that the … behavior could not reasonably be expected to recur.”) (Scalia, J. concurring) (emphasis in original); Friends of the
Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189 (2000); Ne. Fla. Chapter of Associated Gen. Contractors of Am. v. City
of Jacksonville, Fla., 508 U.S. 656, 662 (1993); Chi. Teachers Union, Local No. 1, AFT, AFL-CIO v. Hudson, 475 U.S. 292, 305
n.14 (1986); United States v. Generix Drug Corp., 460 U.S. 453, 456 n.6 (1983) (“The possibility that respondent may change
its mind in the future is sufficient to preclude a finding of mootness.”); City of Mesquite v. Aladdin’s Castle, Inc., 455 U.S.
283, 289 (1982); L.A. Cty. v. Davis, 440 U.S. 625, 631 (1979); Allee v. Medrano, 416 U.S. 802, 810 (1974).


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              Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 18 of 28



Depart On Time”). 8 And this suggests, as Plaintiffs’ expert explains, that “knowledge at the most

senior levels of the organization is not being shared with parties who have been asked to provide

testimony in this proceeding.” Jamison Reply Dec. ¶ 30. And of course, there remain the

apparently rampant and uncontrolled “cowboys and loose cannons taking policy into their own

hands at lower levels.” Id. ¶ 26, discussing Curtis Dec. ¶¶ 27-31.

    II.        Defendants’ Constitutional Arguments Are Misguided.

          What is most notable about Defendants’ constitutional argument is the precedents they

carefully step around. Among others, Bush v. Gore, O’Brien v. Skinner, Gallagher v. NY State Bd. Of

Elections, and Blount v. Rizzi do not appear in Defendants’ brief – or are only cited for a non-

substantive point.

               A.          No sound constitutional principle could permit the federal government to
                           take actions that would be unconstitutional for states.

          Mail errors do have a constitutional dimension when they touch on election mail. Thus,

Gallagher found a constitutional violation by the New York State Board of Elections where it –

consistent with state law – refused to count ballots that “despite the postal service’s best efforts …

were not postmarked … due to [what could be] a number of human or mechanical errors.”

Gallagher, 2020 U.S. Dist. LEXIS 138219, *15. Yet, other than a brief appearance in a recitation of

standards, Gallagher is not mentioned – much less distinguished – in Defendants’ papers. But see, for

example, P. MoL at 20. Arguably, “[t]his failure to respond to Plaintiff’s substantial argument can be

taken as a concession of the case’s applicability.” Gallagher, 2020 U.S. Dist. LEXIS 138219, at *63

n.4. In any event, there is no response to this: where voters “face disenfranchisement through no



          8As Mr. Jamison explains, either USPS is engaging in some sort of double speak that the Court needs to
address, or it is so “beset by cowboys and loose cannons taking policy into their own hands at lower levels” that the
Court should intervene. Jamison Dec. ¶ 26. However, taking the USPS denials at face value in the face of this evidence
is no longer possible. See also, Jamison Dec. ¶ 31 (given this inconsistency, the “most benign explanation is that
knowledge at the most senior levels of the organization is not being shared with parties who have been asked to provide
testimony in this proceeding”).


                                                          11
           Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 19 of 28



fault of their own” and “voter’s right to vote, therefore, may hinge on random chance,” there is a

profound, constitutional problem. Id. at *65; *61.

         Similarly absent from Defendants’ analysis are all but one of the cases holding that the same

rules that apply to any other government actor apply to USPS. 9 Again, with Defendants’ general

silence on this point, there is no real question that First Amendment scrutiny applies to USPS

actions – and when those actions place a burden on voters, some kind of scrutiny is appropriate. So,

what is left of Defendants’ argument on this point amounts to this: burdening the constitutional

right to vote is okay when the federal government does it. And that point may be the rare

proposition that needs no citation – the entire purpose of the Fourteenth Amendment was to apply

the Bill of Rights, already applicable to the federal government, to the States.

              B.             If Defendants are correct that Anderson-Burdick does not apply, strict scrutiny
                             is simply automatic.

         Plaintiffs may, as Defendants suggest (Def. MoL at 29-32), have succumbed to “[t]he

temptation to overindulge in the Anderson-Burdick test.” Daunt v. Benson, 956 F.3d 396, 423 (6th Cir.

2020) (Readler, J., concurring). But Anderson-Burdick does not increase the level of scrutiny

restrictions on the right to vote must satisfy – it reduces it. In the background, “[o]bviously included

within the right to choose [representatives], secured by the Constitution, is the right of qualified

voters within a state to cast their ballots and have them counted,” and that “constitutional command

is without restriction or limitation.” United States v. Classic, 313 U.S. 299, 315 (1941). Thus, many

older voting rights decisions apply strict scrutiny automatically as soon as the right to vote is


           9 Defendants do cite USPS v. Council of Greenburgh Civic Assocs., but make a basic logical error in their analysis of

it. Def. MoL at 31, citing 453 U.S. 114, 132 (1981). USPS’s majority opinion does, of course, turn on whether a
particular regulation was content-based. But the fact that a rule that follows a particular syllogism (if content-based, then
strict scrutiny) does not mean the inverse of the syllogism works (e.g., if not content-based, then never strict scrutiny
doesn’t follow). Whether some other First Amendment rule also applies to USPS is irrelevant to the decision in USPS.
Surely Defendants would concede that a content-neutral bar on a particular (even if non-suspect) class of persons
sending mail would raise constitutional issues, despite the rule’s content neutrality. If that’s right, Defendants’ analysis
here only confirms that USPS actions are subject to exactly the same First Amendment scrutiny any other government
action would be.


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              Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 20 of 28



restrained, 10 just as one might find in a prior restraint case.

         Enter Burdick (and Anderson). As explained in Burdick, Anderson grew out of a concern that

“to subject every voting regulation to strict scrutiny and to require that the regulation be narrowly

tailored to advance a compelling state interest … would tie the hands of States seeking to assure that

elections are operated equitably and efficiently.” Burdick v. Takushi, 504 U.S. 428, 433 (1992). 11 In

other words, the “key constitutional interests that animate the Anderson-Burdick framework” (Def.

MoL at 31) are interests that defer to the States’ “power to regulate their own elections.” 504 U.S. at

433. Of course, those interests are absent when a federal agency places a burden on the right to vote.

Thus, if Defendants are right that Anderson-Burdick cannot be applied to the federal government (Def.

MoL at 29), the presence of a restriction on voting triggers strict scrutiny automatically. 12

               C.            Defendants misunderstand how scrutiny shifts the burden of proof.

         Defendants misconstrue the burden of proof once any kind of scrutiny applies. In discussing

strict scrutiny, Defendants complain that “Plaintiffs have not shown and cannot show that USPS’s

action do not advance [a] compelling interest” in “delivering the mail on a timely basis and

continuing its regular operations.” Def. MoL at 36. Everything about this application of strict

scrutiny is wrong, and this error infects all of Defendants’ analysis.

         First, under strict scrutiny, once a plaintiff makes the required showing (a severe burden on

the right to vote, content-based restriction on speech, racial discrimination, and so on.), the “burden


         10   See, e.g., Dunn v. Blumstein, 405 U.S. 330 (1972), Evans v. Cornman, 398 U.S. 419, 423 (1970); Cipriano v. Houma,
395 U.S. 701, 704 (1969); Kramer v. Union Free Sch. Dist., 395 U.S. 621, 627 (1969); and Reynolds v. Sims, 377 U.S. 533, 555
(1964).
           11 Indeed, mere weeks before deciding Burdick, the Supreme Court applied strict scrutiny to a restriction on

soliciting votes within 100 feet of a polling place, with no mention of “balancing” the State’s interest (or, for that matter,
intentional or purposeful discrimination, as Defendants suggest is required), despite citation to Anderson. See Burson v.
Freeman, 504 U.S. 191, 210 (1992).
           12 For a fuller exploration of the relationship between Anderson-Burdick and the background rule, see Brief for

Professor Erwin Chemerinsky as Amicus Curiae Supporting Neither Party, Crawford v. Marion County Elec. Bd., 553 U.S.
181 (2008) (No. 07-21, 07-25). Of course, the Crawford Court did not adopt Professor Chemerinsky’s approach, and in
the wake of Crawford, courts tend to handle just about everything related to elections through the prism of Anderson-
Burdick. See Daunt v. Benson, 956 F.3d 396, 423 (6th Cir. 2020) (pushing back on the post-Crawford “temptation to
overindulge in the Anderson-Burdick test.”).


                                                              13
             Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 21 of 28



… shifts to the” government to show the challenged measure “serves a ‘compelling interest’ and is

‘narrowly tailored’ to that end.” Cooper v. Harris, 137 S. Ct. 1455, 1464 (2017). In other words,

“[s]trict scrutiny is a searching examination, and it is the government that bears the burden.”

Fisher v. Univ. of Tex., 570 U.S. 297, 310 (2013) (emphasis added). See also, P. MoL at 25 (“Once a

plaintiff shows a burden on the right of access to the ballot – even if that ‘burden … is not large’ – it

becomes the government’s responsibility to justify that burden”), citing Price, 540 F.3d at 112.

        Second, a generic interest in continuing ordinary operations is never sufficient – even under

lighter forms of scrutiny. Thus, even under Anderson-Burdick’s intermediate scrutiny, Courts have

demanded defendants “show[] what legitimate interest it might have,” and may not “resort[] only to

[a] general, and quite understandable, interest in seeing state laws enforced, to the letter, as written.”

Credico v. N.Y. State Bd. of Elections, 751 F. Supp. 2d 417, 422 (E.D.N.Y. 2010). Indeed, “to accept

that rationale and nothing more would be tantamount to a categorical rejection of any ‘as applied’

challenge.” Id. Under strict scrutiny, where the government must show not only a compelling

interest, but narrow tailoring and that the means used is the least restrictive alternative, an assertion

that the measures are only “geared towards delivering the mail on a timely basis” falls well short of

Defendants’ burden. Indeed, Defendants make no attempt at all to show why the measures “make

it necessary to burden the constitutional rights of Plaintiffs.” Yang, 960 F.3d at 134 (cleaned up).

        Since Defendants do not even argue that they made an affirmative showing of narrow

tailoring and necessity (and they have not), if strict scrutiny applies, the challenged policies are

unconstitutional.

               D.            No intent is required in voting rights cases of this kind.

        While, certainly, the presence of “purposeful or intentional discrimination” would be a

constitutional problem, in a right to vote case, its absence is unimportant. Def. MoL at 37-39. 13


        13   The cases Defendants cite for this point are not voting rights cases.


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           Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 22 of 28




Rather, “[t]o establish an undue burden on the right to vote under the Anderson-Burdick test,

Plaintiffs need not demonstrate discriminatory intent behind the [restrictions] because we are

considering the constitutionality of a generalized burden on the fundamental right to vote, for which

we apply the Anderson-Burdick balancing test instead of a traditional equal-protection inquiry.”

Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1319 (11th Cir. 2019), citing Obama for America v.

Husted, 697 F.3d 423, 429-30 (6th Cir. 2012) and Anderson v. Celebrezze, 460 U.S. 780, 806 (1983).

Similarly, as far as one-person, one-vote is concerned, there is no mention anywhere in Bush v. Gore

of the government’s intent in disenfranchising voters, because that intent is irrelevant. 531 U.S. 98

(2000).

          To that end, the Court in Gallagher rejected the exact argument Defendants advance here,

both on Bush v. Gore and conventional Anderson-Burdick analysis:

             The State Defendants argue that Plaintiffs have not established a clear likelihood of
             success on their equal protection claim because they have failed to show that
             Defendants’ conduct constituted intentional or purposeful discrimination. To the extent
             that this is an attempt to question the equal protection principles set forth in Bush v. Gore,
             and their application here, such an attempt is not persuasive. The Supreme Court held
             in that case that an equal protection violation occurs when a state's vote counting
             procedures lacked "minimum procedures necessary to protect the fundamental right of
             each voter," and made no mention of the government's intent to disenfranchise
             voters. Bush, 531 U.S. at 109. Now that systemic postmarking issues have been revealed,
             and the effect is that § 8-412 requires identically situated ballots to be counted or
             invalidated based on random chance, the state violates the Equal Protection Clause when
             it deliberately continues to apply that policy.

Gallagher, 2020 U.S. Dist. LEXIS 138219, *63-64. See also, id. at 53-54 (noting and rejecting

defendants’ argument “that the asserted injuries are, at most, a result of the USPS’s inadvertent

failure to postmark certain ballots” and therefore plaintiffs had “not demonstrated that the State

Defendants purposefully burdened their right to vote,” finding that “the Constitution is not so

toothless.”).

          The reason for this approach makes policy sense: in terms of the integrity of elections, it




                                                    15
              Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 23 of 28



matters very little whether election officials, legislatures, or anyone else actual intend to disenfranchise

voters. 14 In Yang, for example, there was no question in cancelling the democratic primary election,

the intent was “protecting the public from the health risks posed by COVID-19 by, for example,

minimizing social contacts and interactions” and “utilizing the Board's limited resources to make

sure that other (contested) elections can be conducted safely and efficiently during the current

pandemic.” Yang v. Kosinski, 960 F.3d 119, 134 (2d Cir. 2020). But in acting to forward those

interests – by, essentially, neglect (see, Def. MoL at 37-38) – the Governor and Board of Elections

impermissibly burdened the right to vote. Put otherwise, because of the importance of the right to

vote, courts do not need to await a mustache twirling villain before they act to protect voters. A

burden on the right to vote is enough.

               E.           Defendants’ McDonald argument ignores the existence of O’Brien.

         Defendants’ argument from McDonald is grounded in law that – while not expressly

overturned – is largely abrogated at this point. See Def. MoL at 32. As the Supreme Court explained

in O’Brien, 15 in McDonald, there was a “possibility that the State might furnish some other alternative

means of voting” than an absentee ballot, and thus “the Court’s disposition of the claims in

McDonald rested on failure of proof.” O’Brien v. Skinner, 414 U.S. 524, 529 (1974), discussing McDonald

v. Board of Election Comm’rs, 394 U.S. 802 (1969) (noting that, among other things, the state might

“possibly furnish the jails with special polling booths or facilities on election day”). 16 Thus, in Goosby


         14  Similarly, no intent requirement exists in a wide variety of First Amendment contexts: there is no
requirement, for example, that content-based restrictions on speech intentionally target that speech. Nor is there any
requirement that a prior restraint on publication also be intentionally discriminatory – it need only have the effect of
restricting speech before the speech happens.
          15 As with Gallagher and Bush discussed above, Defendants “do not cite—much less distinguish—[O’Brien],”

which amounts to a “concession of the case’s applicability.” Gallagher, 2020 U.S. Dist. LEXIS 138219, at *63 n.4, citing In
re UBS AG Sec. Litig., No. 07 Civ. 11225, 2012 U.S. Dist. LEXIS 141449, 2012 WL 4471265, at *11 (S.D.N.Y. Sept.28,
2012) (recognizing that a party “concedes through silence” to arguments by its opponent that it fails to address) and First
Capital Asset Mgmt., Inc. v. Brickellbush, Inc., 218 F. Supp. 2d 369, 392-93 & n.116 (S.D.N.Y.2002) (considering an
argument not addressed in opposition brief to be waived).
          16 Even putting aside that McDonald is pre-Anderson and pre-Burdick, the Supreme Court and Second Circuit

both cabin McDonald in this way. See also, Hill v. Stone, 421 U.S. 289, 300 n.9 (1975) (“In McDonald, however, the only
issue before the Court was whether pretrial detainees in Illinois jails were unconstitutionally denied absentee ballots. The


                                                            16
            Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 24 of 28



v. Osser, 409 U.S. 512 (1973), and then in O’Brien, the Supreme Court found that measures essentially

identical (on paper, at least) to those in McDonald constituted “a restriction which is so severe as

itself to constitute an unconstitutionally onerous burden on the exercise of the franchise” because

the fact certain voters could not receive an absentee ballot functioned as an “absolute bar to voting.”

414 U.S. at 530 (alterations adopted).

           Read together, O’Brien and McDonald require strict scrutiny here – at least as far as

international, immunocompromised, and some other voters are concerned (see P. MoL at 14-16).

For those voters, in many instances because of the pandemic, the only method of voting available is

mail-in absentee ballot. See, e.g., Green (Mary Winton) Dec. ¶ 8 (“If I do not vote absentee by mail, I

will be unable to vote at all.”). And tens if not hundreds of thousands class members similarly

situated to the relevant plaintiffs will be – as a matter of pure statistics – disenfranchised if the

current delay in USPS services is not addressed. In short, then, this case has exactly that “proof”

that McDonald lacked: delays in absentee ballot delivery will function as a bar on voting for many

voters, and no one will swoop in and deliver these voters “some other alternative means of voting.”

414 U.S. at 529. See also, Price v. N.Y. State Bd. of Elections, 540 F.3d 101, 109 (2d Cir. 2008).

    III.       Defendants’ Other Points Lack Merit.

           Defendants make several other points, some of which Plaintiffs address in the interest of

completeness.

           Defendants argue Plaintiffs have not shown irreparable harm. Def. MoL at 39. Not so. As



Court expressly noted that there was nothing in the record to indicate that the challenged Illinois statute had any impact
on the appellants’ exercise of their right to vote … Any classification actually restraining the fundamental right to vote,
the Court noted, would be subject to close scrutiny”); Kramer v. Union Free Sch. Dist., 395 U.S. 621, 626 n.6 (1969) (“In
McDonald, on the other hand, we were reviewing a statute which made casting a ballot easier for some who were unable
to come to the polls. As we noted, there was no evidence that the statute absolutely prohibited anyone from exercising
the franchise; at issue was not a claimed right to vote but a claimed right to an absentee ballot.”); Price v. N.Y. State Bd. of
Elections, 540 F.3d 101, 109 & n. 9 (2d Cir. 2008) (“it is important only that there is at least some burden on the voter-
plaintiffs’ rights … whatever [plaintiffs’] reasons for finding it difficult to vote in person[, New York Law] would always
permit them to vote by absentee ballot in any other election,” and thus “[t]he Supreme Court’s opinion in McDonald does
not alter our analysis.”).


                                                              17
         Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 25 of 28



Plaintiffs explained in the opening brief (P. MoL at 28-29), and Defendants do not address, “[i]n the

Second Circuit, it is well-settled that an alleged constitutional violation constitutes irreparable harm.”

Gallagher, 2020 U.S. Dist. LEXIS 138219, *43, citing Conn. Dep’t of Envtl. Prot. v. O.S.H.A., 356 F.3d

226, 231 (2d Cir. 2004). In their argument on this point, Defendants also mischaracterize a point in

the opening brief as a concession. Def. MoL at 39, quoting P. MOL at 7 (“while the scale of

disenfranchisement at stake here is unclear, there is no doubt it will be meaningful”) (omitted

text in bold). The point was merely that, since the delays may well compound before election day –

and may be aggravated by any number of other factors – it is unclear whether it is thousands, tens of

thousands, or hundreds of thousands of voters that will be disenfranchised. But since “there is no

doubt [disenfranchisement] will be meaningful,” any harm is irreparable, even if the precise “scale …

is unclear.” See Gallagher, U.S. Dist. LEXIS 138219, *68 (thousands of ballots invalidated by USPS

errors constitutes a “strong showing of irreparable harm”).

        Defendants make a passing analogy to the Electoral College, saying, “in light of the Electoral

College … it is not clear how the ‘one person, one vote’ principle could ever be applied across state

lines.” Def. MoL at 25. But the Supreme Court has more than once rejected “analogies to the

electoral college” applied anywhere outside the “specific historical concerns” and compromises that

motivated Alexander Hamilton in crafting the Electoral College. Gray v. Sanders, 372 U.S. 368, 377-

78; 376 n.8 (1963). See also, Davis v. Mann, 377 U.S. 678, 692 (1964) (rejecting “the so-called federal

analogy”). That is, Defendants suggest that the Electoral College is the rule. But it is the exception.

And so one person, one vote applies everywhere but those areas already monopolized by the

Constitution. This Court, just like a state, cannot introduce new measures that violate one person,

one vote principles.

        Defendants object to some of the relief requested. Much of this is easy to address. If, as

Defendants suggest (Def. MoL at 40), OIG is already conducting audits that will produce



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           Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 26 of 28



meaningful data in the relevant time frame, then simply providing that data to counsel and the Court

will suffice. 17 Given that the 5.6% slowdown remains in place even as Defendants assure the Court

that there are no measures in place that could slow down the mail, it stands to reason that some

monitoring is required. The exact scope of that monitoring is a harder question – and perhaps an

appropriate subject for supplemental submissions.

         Similarly, “[i]t is well established … that a federal district court has wide discretion to fashion

appropriate injunctive relief in a particular case.” Richmond Tenants Org., Inc. v. Kemp, 956 F.2d 1300,

1308 (4th Cir. 1992); see also Lemon v. Kurtzman, 411 U.S. 192, 200 (1973) (“[E]quitable remedies are a

special blend of what is necessary, what is fair, and what is workable.”); Trump v. Int’l Refugee Assist.

Project, 137 S. Ct. 2080, 2087 (2017) (per curiam) (“Crafting a preliminary injunction is an exercise of

discretion and judgment.”). What is in the Notice of Motion is a proposed framework that includes

metric targets, and a non-exclusive list of ways to achieve those metrics. Contrary to Defendants’

suggestion, reducing delays now is vital to ensuring USPS is prepared to deal with the volume of

Election Mail that will come over the next months – and vital to ensuring that USPS and the

Postmaster are not (once again) surprised that the measures they’ve taken cause, rather than cure,

delays. See House Tr. at 60-61.

         Defendants’ complaint about the language “[a]ny change in the nature of postal services

which will generally affect service on a nationwide or substantially nationwide basis” (Def. MoL at

26 n. 22) is disingenuous at best. 18 That language is borrowed directly from a statute that already

governs USPS services (and so compliance imposes no additional investigative burden). 39 U.S.C. §


          17 On this point, Defendants are wrong that “plaintiffs [have not] even explained how the particular actions it is

asking this Court to order will improve USPS’s operations.” As explained by Plaintiffs’ expert, “OIG audits of all USPS
mail processing plants well before the election would help identify where slowdowns are occurring” and “[i]f necessary
the USPS-OIG and the Postal Inspection Service should be utilized to conduct audits and ensure best practices are in
place.” Jamison Dec. ¶ 37, 48.
          18 The complaint that this language is not definite enough only appears in Defendants’ brief, and not any

affidavit. Presumably, had they been asked, Defendants’ declarants would have recognized this language and understood
exactly what it meant.


                                                            19
          Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 27 of 28



3661(b) provides that anytime “the Postal Service determines that there should be a change in the

nature of postal services which will generally affect service on a nationwide or substantially

nationwide basis” it must first “submit a proposal, within a reasonable time prior to the effective

date of such proposal, to the Postal Regulatory Commission requesting an advisory opinion on the

change,” and there must be hearings and public comment on that change. If USPS is asserting that

the statute does not give them “notice of precisely what conduct” triggers the advisory opinion

requirement, there is a much more profound issue than whether the requested injunction is

appropriate. Lau v. Meddaugh, 229 F.3d 121, 123 (2d Cir. 2000). In any event, unless USPS plans to

violate 39 U.S.C. § 3661(b), all the proposed injunction does is requires such proposals to be held

and not implemented until the election is over.

        Zooming out, the Court is free to narrow the remedies when Defendants show some

particular measure is unneeded or is, indeed, harmful. By analogy, Courts have narrowed the

requested scope of a preliminary injunction where more limited protections would offer complete

relief and any broader injunction would “encroach[] on the ability of other circuits to consider the

[issue].” Los Angeles Haven Hospice, Inc. v. Sebelius, 638 F.3d 644, 648–49 (9th Cir. 2011); see also

Virginia Soc’y for Human Life, Inc. v. FEC, 263 F.3d 379, 381 (4th Cir. 2001). Though “injunctive relief

should be no more burdensome to the defendant than necessary to provide complete relief to the

plaintiffs,” the “scope of injunctive relief is dictated by the extent of the violation established.”

Califano v. Yamasaki, 442 U.S. 682, 702 (1979). Here, at issue is an unprecedented national slowdown

in the mail, just before an election, at the direction (or, if his testimony is to be believed, remarkable

lack of direction) of a Postmaster General with no USPS experience. A broad problem calls for

broad relief.




                                                     20
         Case 1:20-cv-06516-VM Document 38 Filed 09/10/20 Page 28 of 28



                                            CONCLUSION

        For the reasons above and in the moving papers, Plaintiffs respectfully request the Court

grant their motion for injunctive relief.



                                                        Respectfully submitted,



                                                              /s/
                                                        __________________________
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                                                 21
